Ann fF Mulgan

 

 

 

 

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(10) £32 Ave , IVED
Mailing address .
Ancnorage, AK GFSo1 MPR LT 2519
City, Stat zip bcs CLERIC Us. ry. ICT Og
-4U¢g- ANCHO Ape | COURT
Telephone ORAGE, ALK,

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

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(Enter full name of plaintiff in this action)

 

 

 

 

Case No.
Plaintiff, (To be supplied by Court)
vs.
Awa Le. Shelter , COMPLAINT UNDER
THE CIVIL RIGHTS ACT
; 42 U.S.C. § 1983
; (NON-PRISONERS)
(Enter full names of defendant(s) in this action.
Do NOT use et ai.)
Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional authorities, please list them below:

 

B. Parties

1, Plaintiff: This complaint alleges that the civil rights of Ann. PAtn Ota Mul Faw

(print your name)

who presently resides at bz ms CAFE 110 &3F Ne. ATL a je Ab 219501

(mailing address) —

 

were violated by the actions of the individual(s) named below.

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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

Defendant No. 110k news 04 ne while Lom u /2 is a citizen of
(name)
MA Sa, and is employed as a_#yup4~te Vt. ¥ ‘OCg PLO BOG 16 Sha the

(state) (defendant's government position/title)

This defendant personally participated in causing my injury, and | want money
damages.

OR

<The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

 

Defendant No. 2, is a citizen of
(name) :

, and is employed as a

(state) (defendant's government positionditle)

 

 

This defendant personally participated in causing my injury, and | want money
damages.

OR

 

 

The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

Defendant No. 3, is a citizen of

 

. (name)
, and is employed as a

 

(state) (defendant's government positionstitle)

 

This defendant personally participated in causing my injury, and | want money
damages.

OR

The policy or custom of this official's government agency violates my rights, and |
Seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts

Supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename
the claims, “Claim 4," “Claim 5, etc.”),

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Claim 4: On or about 4f/ 7/2017
(Date)

Violdstwn oF ew liQh7ts

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by [pyle emule @ Gut aesk
(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what

happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):

, my civil right to

on 4) 11/2017 LL Avive my Of be fhe

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Claim 2: On or about , my civil right to
(Date)

 

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)
was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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‘Claim 3: On or about

, my civil right to
(Date)

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what

happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? ‘ Yes No

2. If your answer is “Yes,” describe each lawsuit.

a. Lawsuit 1:

Plaintifis): Anant f. Mutt? gan

Defendant(s); JwA te sn er

Name and location of court: Supe na _lovr o& Anchorade
Docket numberAfit- p52 Name of judge: ZAC basthy /

Approximate date case was filed: da\ i) Date of final decision:

 

 

Disposition. _ Dismissed _ __ Appealed _f Still pending
Issues Raised: Vivlahon pf Civil yi4hh, pyle Crime
b. Lawsuit 2:

Plaintiff(s):

Defendant(s):

 

Name and location of court:

 

 

 

Docket number: Name of judge:. ee
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

F. Request for Relief
Plaintiff requests that this Court grant the following relief:
1. Damages in the amount of $ Ab Million Olle

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2. Punitive damages in the amount of gs 5O mii (oly Collars
3. An order requiring defendant(s) to G0 +6 Ja! rf? At) l echt fa
4. Adeclaration thatthe, WoWin be fe munded fp Ad

§. Other: Haak He. fwate, Shu Le ake (eth hen be the flAnhrsS 1p arde4
dmuy  ncliding Franiculden Lil preter coe
Plaintiff demands a tial by jury. Yes No

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff
in the above action, that s/he has read the above civil rights complaint and
- that the information contained in the complaint-is true and-eorrect. —

Executed at ash Orage asks on HINT Ro 9

¢ (Location) (Date)

Cpr Padre, Ge My lt de

(Plaintiff's Original Signatufe)

(eT 4-9 OOF

Original Signature of Attorney (if any) (Date)

 

 

Re Ans bate
Nol £ BF Awe
Ania y, Me svi

Attorney's Address and Telephone Number

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